                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

UNITED STATES OF AMERICA,                          §
                                                   §
               Plaintiff,                          §
                                                   §
v.                                                 §                   1:21-CV-796-RP
                                                   §
THE STATE OF TEXAS,                                §
                                                   §
               Defendant.                          §

                                              ORDER

       Before the Court is the United States’ Opposed Motion for Expedited Briefing Schedule.

(Dkt. 13). Consistent with the Court’s previous Order, (Dkt. 12), that set a hearing on the United

States’ Emergency Motion for a Temporary Restraining Order or Preliminary Injunction, (Dkt. 8),

this case presents complex, important questions of law that merit a full opportunity for the parties to

present their positions to the Court. Accordingly, IT IS ORDERED that the United States’

Opposed Motion for Expedited Briefing Schedule, (Dkt. 13), is DENIED.

      SIGNED on September 16, 2021.


                                             _____________________________________
                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT JUDGE
